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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                             CRIMINAL NO. 06-10116-RGS

                            UNITED STATES OF AMERICA

                                            v.

                   ROBERT PROSPERI, GREGORY STEVENSON,
                       GERARD MCNALLY, MARC J. BLAIS,
                      JOHN J. FARRAR, and KEITH THOMAS


                       MEMORANDUM AND ORDER ON
             DEFENDANT MCNALLY’S AND DEFENDANT STEVENSON’S
                        MOTIONS TO SUPPRESS AND
                   REQUESTS FOR EVIDENTIARY HEARINGS

                                   November 2, 2007

STEARNS, D.J.

      Defendants are charged with conspiracy to commit mail fraud, conspiracy to defraud

the government, and the making of false statements in connection with the construction

of the Central Artery Tunnel Project (CA/T).      Defendants McNally and Stevenson,

employees of Aggregate Industries, a major CA/T contractor, separately gave statements

to the Massachusetts State Police on June 29, 2005. Both defendants have filed motions

to suppress, each maintaining that his statement was made without the benefit of Miranda

warnings and is therefore presumptively inadmissible. See Miranda v. Arizona, 384 U.S.

436 (1966).1 Defendants seek an evidentiary hearing to bolster their claims. The

      1
       The Fifth Amendment provides that “no person shall be compelled in any criminal
case to be a witness against himself.” While “admissions of guilt by wrongdoers, if not
coerced, are inherently desirable,” United States v. Washington, 431 U.S. 181, 187 (1977),
the Supreme Court in Miranda “presumed that interrogation in certain custodial
circumstances is inherently coercive and held that statements made under these
circumstances are inadmissible unless the suspect is specifically informed of his Miranda
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government argues that an evidentiary hearing is not warranted because, in the

government’s view, the statements were not a product of custodial interrogation. The facts

as alleged will be construed in the light most favorable to defendants.

      Stevenson Interview

      Early in the morning of Wednesday, June 29, 2005, Massachusetts State Troopers

John Morris and Katrina Mazzie went to defendant Stevenson’s home in Boxford,

Massachusetts. The troopers wore casual clothing. Although both carried firearms, their

weapons were concealed.       The troopers arrived at approximately 6:00 a.m.       They

approached Stevenson as he walked from his residence towards his car. The troopers

identified themselves and told Stevenson that they wanted to speak with him about a grand

jury investigation involving the CA/T. The troopers told Stevenson that he was “not in

trouble” and was not under arrest. They asked if they could conduct the interview inside

Stevenson’s home. Stevenson led the troopers through the kitchen into the family room.2

There the troopers and Stevenson sat on separate couches. Stevenson was seated

nearest to the doorway leading to the kitchen.

      A few minutes into the interview, Stevenson’s wife came downstairs after hearing

the family dogs bark. The troopers told Mrs. Stevenson that they had come to ask some




rights and freely decides to forego those rights.” New York v. Quarles, 467 U.S. 649, 654
(1984).
      2
       There is a disagreement over whether the troopers asked to go inside the
residence or whether Stevenson “invited” them to do so.

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questions of her husband.3 She left the room and waited in the kitchen a few minutes

before returning upstairs. The troopers continued the interview. They asked Stevenson

if he wanted to take the dogs outside because of their continued barking.

       Later in the interview, the troopers told Stevenson that other Aggregate employees

were also being questioned. As the interview was coming to an end, Stevenson received

a call on his company cell phone from Greg Fowler, the head of maintenance at

Aggregate. Stevenson spoke with Fowler in the presence of the troopers. Fowler told

Stevenson that law enforcement officers were executing a warrant at the Aggregate facility

in Everett. After Fowler hung up, the troopers asked Stevenson if he wanted to call his

office to let it be known that he would be late for work. In the troopers’ presence,

Stevenson called Chad Groff, his supervisor, and told him about the interview.

           A few minutes later, Groff called back and told Stevenson that he needed an

attorney and should stop answering questions. Stevenson relayed this advice to the

troopers, who told him that he was free to continue the conversation. Stevenson said that

he had to keep his job in order to pay his bills. The troopers again told Stevenson that he

could continue speaking if he wanted. Stevenson repeated the advice that he obtain an

attorney. The troopers then served Stevenson with a grand jury subpoena and left.

       The troopers did not at any time advise Stevenson that he could refuse to answer

their questions or that he was free to terminate the interview. They also did not give

Stevenson Miranda warnings. The interview lasted sixty to ninety minutes.



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       The government notes that the troopers did not prevent Mrs. Stevenson from
staying with her husband.

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       McNally Interview

       That same morning, Troopers Matthew G. Murphy and Michael Farley went to

defendant McNally’s home in Rockland, Massachusetts.          They arrived in separate,

unmarked cars.        Both wore casual clothing.   Their firearms were concealed.     At

approximately 6:00 a.m., McNally left his residence and began driving to work. As the

troopers had not yet received orders to confront McNally, they followed him to the

Aggregate facility in Waltham. While en route, they were instructed to proceed with the

interview. At approximately 6:45 a.m., McNally arrived at the Waltham facility and exited

his truck. Trooper Farley approached McNally, showed his badge, and identified himself

as a State Trooper. Farley explained that he wanted to speak with McNally about

Aggregate’s deliveries of concrete to the CA/T project. McNally agreed to be interviewed

in the parking lot.

       When other workers began arriving, McNally asked if they could move to a more

discreet location. He led the troopers to an office attached to a nearby garage bay. The

office had one door, windows, and benches. Once inside, McNally took a seat. Farley sat

next to him. Murphy stood at the door.4 Farley conducted the interview while Murphy took

notes. The room was not air-conditioned. The troopers complained several times of the

heat. At some point, McNally became faint.5 The troopers never advised McNally of his




       4
       The government contends that neither trooper blocked the door and that all three
men stood during the interview.
       5
       The government maintains that McNally did not exhibit any visible signs of
discomfort.

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Miranda rights or that he was free at any time to stop answering questions.6 The interview

lasted forty-five minutes. The troopers served McNally with a grand jury subpoena before

leaving.

                                       DISCUSSION

       Miranda warnings are required only when an interrogation is “custodial.” Miranda,

384 U.S. at 444. Miranda defined custodial interrogation as questioning “initiated by law

enforcement officers after a person has been taken into custody or otherwise deprived of

his freedom in any significant way.” Id. at 444.     “[T]he custodial setting is thought to

contain ‘inherently compelling pressures which work to undermine the individual’s will to

resist and to compel him to speak where he would not otherwise do so freely.’” Minnesota

v. Murphy, 465 U.S. 420, 430 (1984) (quoting Miranda, 384 U.S. at 467). Custody,

however, is not solely a function of a formal arrest. The ultimate inquiry “is simply whether

there is a ‘formal arrest or restraint on freedom of movement’ of the degree associated with

a formal arrest.” California v. Beheler, 463 U.S. 1121, 1125 (1983) (per curiam).

       A defendant bears the burden of proving that he was in custody when an

incriminating statement was made.         The test is an objective one.        “[T]he initial

determination of custody depends on the objective circumstances of the interrogation, not

on the subjective views harbored by either the interrogating officers or the person being

questioned.” Stansbury v. California, 511 U.S. 318, 323 (1994). The test involves a

variety of factors, including “whether the suspect was questioned in familiar or at least


       6
        According to the government, both troopers left the office at different times during
the interview to use the bathroom, leaving the other trooper and McNally together to
continue the interview.

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neutral surroundings, the number of law enforcement officers present at the scene, the

degree of physical restraint placed upon the suspect, and the duration and character of

the interrogation.” United States v. Trueber, 238 F.3d 79, 93 (1st Cir. 2001). The list,

however, is not exclusive, nor is any single factor necessarily dispositive.7

       Stevenson was questioned in the familiar setting of his own home. While the

location in which an interview takes place is not conclusive, United States v. Mittel-Carey,

456 F. Supp. 2d 296, 306 (D. Mass. 2006), it is a significant, and at times, decisive factor.

See Beckwith v. United States, 425 U.S. 341, 343, 347 (1976) (conversation with officers

in defendant’s home was “friendly” and “relaxed”). By contrast, none of the facts cited by

Stevenson, however indulgently viewed, could have reasonably transformed the family

room where the interview with the troopers occurred into a police-dominated, coercive

environment. There were only two troopers present during the interview; both wore plain

clothes; Stevenson was told that he was not under arrest; the troopers kept a respectful

distance; Stevenson was seated next to the door; the troopers did not stop the questioning

when Mrs. Stevenson was present or standing within earshot; they offered to let him leave

the room to attend to his dogs; Stevenson was permitted to receive and make phone calls




       7
        Some courts, for example, focus on the extent to which a suspect is confronted with
evidence of his guilt. See e.g., United States v. Estrada-Lucas, 651 F.2d 1261, 1266 (9th
Cir. 1980)

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during the interview; the troopers did not use any deceptive tactics;8 and they did not in

fact arrest Stevenson.9

       Stevenson makes much of the fact that neither trooper informed him that he was

free to leave or to terminate the encounter, although this fact would be more relevant if the

interview had taken place outside the home in a forbidding environment. See Yarborough

v. Alvarado, 541 U.S. 652, 665 (2004) (interrogation at a police station); but see United

States v. Griffin, 922 F.2d 1343, 1355 (8th Cir. 1990) (an otherwise familiar setting like a

home may be transformed into an oppressive and custodial environment by an overbearing

police presence); Orozco v. Texas, 394 U.S. 324, 326 (1969) (defendant questioned while

surrounded in his bed by four armed officers). Stevenson also claims that when he

“indicated that he wanted an attorney present, the troopers attempted to persuade him

otherwise.” But the officers never told Stevenson that he could not contact an attorney;

they only told him that he could continue the interview without an attorney present if he so

chose. When Stevenson repeated the advice that he obtain an attorney, the troopers

broke off the interview. In the totality of the circumstances, no reasonable person in

Stevenson’s place would have believed that he was in custody. Therefore, no evidentiary

hearing is required.

The McNally Interview


       8
        According to Stevenson, it was deceptive for the troopers to tell him that he was
not in any trouble, when they knew that search warrants were being executed at other
locations in connection with the investigation.
       9
        When the troopers asked Stevenson if he wanted to call his office to explain why
he was tardy, they clearly signaled that they had no intention of placing him under arrest
at the end of the interview.

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       McNally argues that his situation is similar to that of the defendant in United States

v. Mahmood, 415 F. Supp. 2d 13 (D. Mass. 2006). In Mahmood, a defendant charged with

immigration marriage fraud made statements to ICE agents during an aggressive home

interview.10 The court determined that the defendant was in custody and that the agents’

conduct created a custodial environment requiring the giving of Miranda warnings.

McNally argues that he was questioned in an isolated office; that the exit was physically

blocked by one of the troopers; that he was not permitted to use the bathroom; that the

room was excessively hot; and that the questioning persisted even though he was flushed

and felt faint. See United States v. Griffin, 7 F.3d 1512, 1519 (10th Cir. 1993) (custody

found where intense questioning took place in a confined office); United States v. Carter,

884 F.2d 368, 371-372 (9th Cir. 1989) (same); United States v. Lee, 699 F.2d 466, 468

(9th Cir. 1982) (per curiam) (hour long interview conducted by two agents in a closed car).

The issue is whether a reasonable person in McNally’s position would have felt deprived

of any freedom of choice or maneuver. Because essential facts concerning the conditions

in the office and the aggressiveness of the trooper’s conduct are in dispute, and because

their resolution might well have a bearing on the outcome of the motion to suppress, an

evidentiary hearing will be held in McNally’s case.

                                          ORDER




       10
         In Mahmood, the ICE agents awoke the defendant from sleep; performed a
protective sweep of the home immediately after entering; failed to offer the services of an
interpreter despite Mahmood’s thick foreign accent; accused Mahmood of lying; one agent
repeatedly put his hand on Mahmood’s shoulder, while another placed herself in front of
Mahmood’s phone when it rang.

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      For the foregoing reasons, Stevenson’s motion to suppress and request for an

evidentiary hearing is DENIED.    McNally’s request for an evidentiary hearing is

ALLOWED. The Clerk will calendar the hearing.

                                     SO ORDERED.

                                     /s/ Richard G. Stearns

                                     ________________________________
                                     UNITED STATES DISTRICT JUDGE




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